             Case 1:19-cv-00008        Document 231-1        Filed 07/03/23     Page 1 of 2




       Bruce Berline
1      BERLINE & ASSOCIATES, LLC
       Second Floor, Macaranas Building
2
       PO Box 5682 CHRB
3      Saipan, MP 96950
       Tel: (670) 233-3663
4      Fax: (670) 233-5262
       Email: bruce@saipanlaw.com
5
       Aaron Halegua
6      AARON HALEGUA, PLLC
       524 Broadway, 11th Floor
7
       New York, New York 10012
8
       Tel: (646) 854-9061
       Email: ah@aaronhalegua.com
9
       Attorneys for Plaintiff
10
                                 IN THE UNITED STATES DISTRICT COURT
11                               FOR THE NORTHERN MARIANA ISLANDS
12

                                                            Case No. 19-cv-0008
13      JOSHUA GRAY,
14
                                        Plaintiff,
15
                                 v.
16
        IMPERIAL PACIFIC INTERNATIONAL
17      (CNMI), LLC,

18                                       Defendant.
19

20
                                         WRIT OF EXECUTION
21
     TO THE UNITED STATES MARSHAL FOR THE NORTHERN MARIANA ISLANDS and
22
     IMPERIAL PACIFIC INTERNATIONAL (CNMI), LLC:
23
            A judgment having been entered in the above case on May 31, 2023, in the sum of
24
     $5,686,182.20 plus pre-judgment interest, post-judgment interest, and attorneys’ fees and costs (ECF



                                                      1
              Case 1:19-cv-00008          Document 231-1         Filed 07/03/23     Page 2 of 2




1    No. 226 (the “Judgment”)), in favor of Plaintiff Joshua Gray, and against Defendant Imperial Pacific

2    International (CNMI), LLC (“IPI”); and
             Said sum having not been paid in full;
3
             You are commanded to seize from IPI: all of IPI’s Vehicles, IPI’s Liquor, IPI’s Dragons, IPI’s
4
     Computer Hardware, IPI’s Furniture and Equipment, and IPI’s Casino-Related and Security Equipment,
5
     as those terms are defined in the Declaration of Aaron Halegua, dated July 2, 2023, as well as any other
6
     non-exempt personal property identified by Plaintiff; and make return of this writ, and the execution
7
     thereof, according to law in an amount not exceeding $5,686,182.20; and are commanded to deposit
8
     all monies seized from IPI into the Court’s registry where said proceeds shall remain until after IPI
9    has had an opportunity for an exemptions hearing. The Marshal is not required to levy upon all the
10   property at the same time and may make successive levies under the same writ.
11           Plaintiff shall pay to the United States Marshal in advance the costs of such seizure,

12   removal, storage and related costs, with such amounts to be recouped by the Plaintiff from the

13
     proceeds of a future sale.
             If requested by the United States Marshal’s Service, a representative from the Plaintiff shall
14
     be present to assist in the identification of property subject to seizure.
15
             IN WITNESS WHEREOF, I, Heather Kennedy, Clerk of said Court, have set my hand, this
16
     the _____ day of July, 2023.
17

18
                                                     BY: _____________________
19
                                                     HEATHER KENNEDY
20
                                                     Clerk, United States District Court
                                                     for the Northern Mariana Islands
21

22

23

24




                                                          2
